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                             IN THE UNITED STATES BANKRUPTCY COURT

                                 FOR THE DISTRICT OF DELAWARE

In re:                                                               Chapter 11

TSA WD HOLDINGS,INC., et al.,                                        Case No. 16-10527(MFW)

                                    Debtors.                        (Jointly Administered)

                                                                     Re: Docket No.


           ORDER GRANTING NINTH QUARTERI.,Y APPLICATION FOR
      COMPENSATION AND REIMBURSEMENT OF EXPENSES OF PACHULSKI
         STANG ZIEHL &JONES LLP,AS COUNSEL FOR THE OFFICIAL
          COMMITTEE OF UNSECURED CREDITORS,FOR THE PERIOD
                FROM MARCH 1, 2018 THROUGH MAY 31,2018


                  Pachulski Stang Ziehl &Jones LLP ("PSZ&J"), as counsel for the Committee in

the above-captioned cases, filed its Ninth QuarteNly Applicationfog Compensation andfor

Reimbursement ofExpensesfor the PeriodfNom Maf•ch 1, 2018 thNough May 31, 2018(the

"Ninth Quarterl~pplication"). The - Court has reviewed the Ninth Quarterly Application and

finds that:(a)the Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334;

(b) notice of the Ninth Quarterly Application, and any hearing on the Ninth Quarterly

 Application, was adequate under the circumstances; and (c) all persons with standing have been

afforded the oppartuniTy to be heard on the Ninth Quarterly Application. Accordingly, it is

 hereby




' The Debtors and the last four digits of their respective taxpayer identification numbers are as follows: TSA WD
  Holdings, Inc.(9008); Slap Shot Holdings, Corp.(8209); TSA WD,Inc.(2802); TSA Stores, Inc.(1120); TSA
  Gift Card, Inc.(1918); TSA Ponce, Inc.(4817); and TSA Caribe, Inc.(5664). The headquarters for the above-
  captioned Debtors is located at 1050 West Hampden Avenue, Englewood, Colorado 80110.



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                 ORDERED that the Ninth Quarterly Application is GRANTED,on an interim

basis. The Debtors in the above cases shall pay to PSZ&J the sum of$35,182.50 as

compensation for necessary professional services rendered, and actual and necessary expenses in

the amount of$2,429.92 for a total of$37,612.42 for services rendered and disbursements

incurred by PSZ&J for the period March 1, 2018 through May 31, 2018, less any amounts

previously paid in connection with the monthly fee applications.




        Dated: August 20th, 2018
        Wilmington, Delaware                        MARY F. WALRATH
                                               2    UNITED STATES BANKRUPTCY JUDGE
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